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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                         )
PAYDAY LOAN, LLC d/b/a PAYDAY            )
MONEY CENTERS,                           )
                     Plaintiff,          )
                                         )
                      v.                 )
                                         )     No. 1:20-cv-1084 (ABJ)
 UNITED STATES SMALL BUSINESS            )
  ADMINISTRATION, et al.,                )
                                         )
                           Defendants.   )
                                         )
                                         )

                       DEFENDANTS’ SUPPLEMENTAL FILING
                     IN SUPPORT OF THEIR MOTION TO DISMISS

Dated: May 4, 2020


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       The United States Small Business Administration (“SBA”), in its Interim Final Rule on

Business Loan Program Temporary Changes; Paycheck Protection Program, 85 Fed. Reg.

20811 (April 15, 2020), referred to its Standard Operating Procedure 50-10-5(K), in the

following passage: “Businesses that are not eligible for PPP loans are identified in 13 CFR

120.110 and described further in SBA’s Standard Operating Procedure (SOP) 50 10, Subpart B,

Chapter 2, except that nonprofit organizations authorized under the Act are eligible.” 85 Fed.

Reg. at 20812.

       This Court by minute order on May 3, 2020 directed Defendants “to provide the Court

with the full text of the SBA’s Standard Operating Procedure.” Accordingly, SBA attaches

hereto its SOP 50-10-5(K), Lender and Development Company Loan Programs (effective April

1, 2019).

       The provision of SOP 50-10-5(K) that pertains to this action is found at Subpart B,

Chapter 2, § III.A.2, at pp. 104-05 (“Businesses Engaged in Lending”).

       SBA notes that its first four Paycheck Protection Program interim final rules are available

at the following locations online:

       1.        85 Fed. Reg. 20811-20817 (April 15, 2020)

https://www.govinfo.gov/content/pkg/FR-2020-04-15/pdf/2020-07672.pdf

       2.        85 Fed. Reg. 20817-20821 (April 15, 2020)

https://www.govinfo.gov/content/pkg/FR-2020-04-15/pdf/2020-07673.pdf

       3.        85 Fed. Reg. 21747-21752 (April 20, 2020)

https://www.govinfo.gov/content/pkg/FR-2020-04-20/pdf/2020-08257.pdf

       4.        85 Fed. Reg. 23450-23452 (April 28, 2020)

https://www.govinfo.gov/content/pkg/FR-2020-04-28/pdf/2020-09098.pdf
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Dated: May 4, 2020                       Respectfully submitted,

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